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FILED - LN

September 24, 2024 2:01 PM
CLERK OF COURT
U.S. DISTRICT COURT

UNITED STATES DISTRICT COURT WESTERN DISTRICT OF 15 9By Ay

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FOR THE WESTERN DISTRICT OF

MICHIGAN 1:24-cv-998

JUDGE Paul L. Maloney,
United States District Judge

NO
CHRISTINE THOMPSON, CHRISTOHER ROBINSON,
V.
JUDGES, DARLENE O’ BREIN, ERANE WASHINGTON CAROL KUNKE.
ATTORNEYS, ZANITA CLIPPER, SARA GORMAN, RAJON.

WASHTENAW COUNTY SHEIFF DEPARMENT,SHERIFF JERRY CLAYTON.
WASHTENAW COUNTY PROSECUTORS OFFICE AND PROSECUTORS.
PITTSFEILD TOWNSHIP POLICE DEPARTMENT POLICE OFFICERS STEPHEN
ANDREWS, JIM MAULDIN., HERNYFUSIK. et al,

COMPLAINT
JURY DEMAND

1, THIS ACTION SEEKS MONETARY AND PUNITIVE DAMES
BECAUSE THE WASHTENAW COUNTY SHERIFF DEPARTMENT AND
ATTORNEYS PARTICIPATED WITH PRIVATE PARTIES AND STATE OFFICALS
AND JUDGES AND THE SHERIFF OFFICE WRONGFUL DEPRIVATIONS OF
THE PLAINTIFF PROPERTY. THE PLAINTIFF ALLEGES THAT ALL OF THE
DEFENDANTS ACTED NDER COLOR OF LAW ALSO INTHEIR PRIVATE
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PARTIES VIOLATING THE PLAINTIFFS RIGHTS UNDER THE FOURTH AND
FOURTEENTH AMENDMENT EIGHTH AMENDMENT TO THE
CONSTITUTION OF THE UNITED STATES. ALSO THE PLAINTIFFS BRINGS
STATE LAW CLAIMS PURSUANT TO THIS COURT SUPPLEMENT
JRISDICTION.

JURISDICTION

2. THIS COURT HAS JURISDICTION OVER PLAINTIFS FEDERAL CLAIMS
UNDER 28. U.S.C.1331 AND THIS COURT HAS JURISDICTION OVER
PLAINTIFFS STATE LAW CLAIMS UNDER 28 U.S.C.1367, ALSO IN REM
JURISDICTION OVER REAL PROPERTY

VENUE

3. VENUE IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MICHIGAN PURSUANT U.S.C.1391

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STATEMENT OF FACTS
CHAPTER ONE 42 U.S, CODE 1985

THE PLAINTIFF CHRISTINE THOMPSON FILED FOR DIVORCE FROM NOW
DECEASED EX HUSBAND ROBERT L. THOMPSON ON APRIL 18°! 2022.
THROUGH OUT THE DIVORCE PROCESS THE LATE ROBERT L. THOMPSON
DESPERATELY TRIED TO CONVINCE THE PLAINTIFF IN THIS CASE TO BUY
OUT THE PLAINTIFF SHARE OF THEIR HOME THAT THEY PURCHASED AS
HUSBAND AND WIFE IN 1988. THE PLAINTIFF DECEASED EX HUSBAND
KNOWINGLY KNEW PRIOR TO THE FINAL JUDGMENT IN THE PLAINTIFF
DIVORCE PROCEEDINGS THAT HE WAS GOING TO PASS FORM SO
THERFORE THE PLAINTIFF EX HUSBAND WHOLE MISSION BEFORE
DYING WAS TO LEAVE THE HOME WHOM HE ONCE SHARED WITH THE
PLAINTIFF TO HIS SON THE DEFENDANT IN THIS CASE KEVIN V.
THOMPSON. THE PLAINTIFF EX HUSBAND ROBERT L. THOMPSON DIED
ON MAY 13°4 2023 ON WEEK AFTER HE PLAINTIFF DIVORCE WAS
FINALIZED BY THE COURT. THE PLAINTIFF CONTENDS THAT THE
DIVORCE PROCEEDINGS IN THIS CASE BY THE PLAINTIFF EX HUSBAND
WAS NOTHING LESS FROM AN MUTAUAL SPLIT IT WAS EMOITIONALLY
DISTRESSFUL AND ENDED WITH THE PLAINTIFF EX HUSBAND AND
FAMILY FRIEND DEFENDANT ATTORNEY ZANITA CLIPPER AND CLIENT
DEFENDANT KEVIN L. THOMPSON. ENGAGED INTO AND CRIMINAL
CONSPIRACY TO FORCIBLY TAKE UNLAWFUL POSSESSION OF MY HOME
AND GOT AN UNLAWFUL JUDGMENT AGAINST MY HOME BY
DEFENDANTS JUDGE DARLENE O’ BREIN AND JUDGE ERANE
WASHINGTON. THE SAID DEFENDANTS IN THIS CASE WORKS SIDE BY
SIDE WITH THE PLAINTIFF EX HUSBAND WHOM HAD STRONG TIES IN
OUR COMMUNITY AND THE PLAINTIFF EX HUSBAND WAS NAMED
HONORAY SHERIFF INOUR COMMUNITY BY DEFENDANTS IN THIS CASE
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WASHTENAW COUNTY SHERRIF DEPARTMENT. ALSO THE PLAINTIFF EX
HUSBAND WAS AN CONFIDENTIAL INFORMANT FOR STATE AND LOCAL
FEDERAL AGENCIES AS WELL AS HIS SON DEFENDANT KEVIN L.
THOMPSON WHOM HAS BEEN TREATED WITH GREAT LENIENCY IN THE
WASHTENAW COUNTY JUDICAL SYSTEM ALL IN DUE TO DEFENDANT
KEVIN THOMPSON FATHER PLAINTIFF EX HUSBAND BEING AN
HONORAY SHERIFF INOUR COMMUNITY AND HAVING STRONG TIES
WITH LAW ENFORCEMENT AND LOCAL JUDGES AND PROSECUTORS.
THE SAID DEFENDANTS IN THIS CASE ATTORNEY ZANITA CLIPPER KEVIN
THOMPSON USED THEIR STRONG TIES WITH LAW ENFORCEMENT
AGENCIES AND LOCAL JUDGES TO INFRINGE ON ME AND MY SON
CONSTITUTIONAL RIGHTS OF THE 4™ AMENMENT OF THE UNITED
STATES CONSTITUTION TO BE SAFE AND SECURE IN OUR HOME. EXHIBIT
1. IN THIS CASE IS THE PLAINTIFF JUDGMENT OF DIVORCE THAT STATES
THAT THE PLAINTIFF AND HER EX HUSBAND TO SELL THEIR HOME AND
SPLIT THE PROCEEDS OF THE HOME UPON SALE. THE PLAINTIFF AND
HER NOW DECEASED EX HUSBAND IS IN REVERSE MORTGAGE AND HAS
IT SET UP WHERE WITH THE MORTGAGE COMPANY IF ONE OWNER
DIES THEY CAN LIVE IN THE HOUSE FOR THE REST OF THEIR LIVES. THE
PLAINTIFF CONTENDS THAT THE DEFENDANT KEVIN THOMPSON IN THIS
CASE HAS NO SHARE IN HER HOME AND WHICH SHE HOLDS TITLE TO
SEE EXHIBIT 2.PLAINTIFF TITLE OF HER HOME AND THE DEATH
CERTIFICATE OF EX HUSBAND ROBERT THOMPSON THAT IS RECOREDED
WITH THE WASHTENAW REGISTER OF DEEDS. THE PLAINTIFF ALSO
CONTENDS THAT SHE AND HER EXHUSBAND HELD THE TITLE AS
HUSBAND AND WIFE WITH THE RIGHT TO SURVIORSHIP RIGHTS AND
THAT HER HOME AUTOMATICALLY PASSESS TO THE SURVIOR OWNER.
SEE EXHIBIT 3. AVOIDING PROBATE IN MICHIGAN JOINT OWNERSHIP IF

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YOU OWN JOINTLY PROPERTY WITH SOME ONE ELSE AND THIS
OWNERSHIP ENCLUDES THE RIGHT OF SURVIORSHIP . THEN THE
SURVIVING OWNER AUTOMACTICALLY OWNS THE PROPERTY WHEN
THE OTHER OWNER DIES NO PROBATE WILL BE NECESSARRY TO
TRANSFER THE PROPERTY. ALTHOUGH OF COURSE IT WILL TAKE SME
PAPERWORK TO SHOW THAT THE TITLE TO THE PROPERTY IS SOLEY
HELD BY THE SURVIVING OWNER.THE SAID DEFENDANTS ATTORNEY
ZANITA CLIPPER, AND KEVIN THOMPSON HAS UNLAWFULLY SECURED
AN EVICTION AND WAS UNLAWFULLY AWARDED MY HOME BY
DEFENDANTS JUDGES DARLENE O’BREIN AND ERANE WASHINGTON
WHILE ACTING UNDER COLOR OF STATE LAW AT ALL TIMES WITH OUT
LAWFUL JURISDICTION TO DO SO. SEE EXHIBIT 4, JUDGMENT AGAINST
MY HOME SIGNED BY DEFENDANTS CIRCUIT COURT JUDGE
DARLENE’BREIN AND DISTRICT COURT JUDGE ERANE WASHINGTON. IT
WAS STATED IN DE YOUNG V. MESLER 373 MICH 499 MICHIGAN LAWS
PERTAINING TO SURVIORSHIP RIGHTS IN DIVORCE PROCEEDINGS AS TO
JOINT TENANTS BY HUSBAND AND WIFE. THE PLAINTIFF EX DECEASED
HUSBAND WHOM HAD STRONG TIES WITH LAW ENFORCEMENT
AGENCIES ALL SAID DEFENDANTS IN THIS CASE HAD A MEETING IN
MINDS TO CONSPIRE AMONG EACH OTHER TO GIVE POSSESION OF MY
HOME VIOLATING ME AND MY SON CONSTITUTIONAL RIGHTS OF THE
4TH AMENDMENT TO BE SAFE AND SECURE IN OUR
HOME.DEFENDANT JUDGE DARLENE O’ BREIN STATED IN EXHIBIT 1,1N
THE JUDGEMENT OF DIVORCE PAGE 7 OF 9 IN DISCOVERY CLAUSE
DEFENDANT O’BREIN CLEARY STATED THAT EACH PARTY SHALL EXECUTE
ALL NECESSARY DOCUMENTS, CONVEYANCES,

ASSIGNMENTS, TRANSFERS OR OTHER INSTRUMENTS NECESSARY FOR
THE PURPOSE OF CARRING OUT THE TERMS OF THIS JUDGMENT, IN

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ORDER THAT THIS JUDGMENT MAY BECOME A COMPLETE AND FINAL
PROPERTY AWARD.IN THE EVENT THAT EITHER OF THE PARTIES HERETO
SHALL FAIL OR NEGLECT TO EXECUTE ANY SUCH INSTRUMENTS OR
DOCUMENTS OF TRANSFERS, THEN THIS JUDGMENT SHALL BE
RECORDED IN THE OFFICE OF THE REGISTER OF DEES OR OHER
RECORDING OFFICE IN THE COUNTRY IN WHICH SAID INSTRUMENTS OR
CONVEYANCE MUST BE RECORDED AND SHALL STAND IN THE PLACE
AND STEAD OF THE REQUIRED CONVEYANCE. NOW THEREFORE THE
SAID DEFENDANTS ATTORNEY ZANITA CLIPPER AND PLAINTIFF
EXHUSBAND NEVER RECORDED AN DEED OF TRANSFER OF PROPERTY
SIGNED BY THE PLAINNTIFF MAKING THE SAID DEFENDANT AN CO
OWNER OF MY HOME. THE SAID DEFENDANTS JUDGES DARLENE O’
BREIN AND ERANE WASHINGTON WITHOUT CLEAR JURISDICTION AND
ARE WILLING PARTICIPANTS IN THESE UNLAWFUL SHEMES THAT HAS
CONSTITUTED AN NUMEROUS OF CIVIL RIGHTS VIOLATIONS LEADING
TO THE 14™ AMENDMENT 4THAMENDMENT AND 8™ AMENDMENT OF
THE UNITED STATES CONSTITUTION. THE SAID DEFENDANTS ATTORNEY
ZANITA CLIPPER AND KEVIN THOMPSON WENT AS FAR TO FORGE THE
PLAINTIF EXHUSBAND SIGNATURE ON A WILL SEE EXHIBIT 5.SEE EXHIBIT
6 PLAINTIFF EXHUSBAND TRUE AND ORIGINAL SIGNATURE OF HIS
MICHIGAN DRIVERS LICENSE AGAIN DEFENDANT LAWYER ZANITA
CLIPPER HAS USED AND ABUSED HER POWERS OF AN ATTORNEY TO
GATE KEEP TITLE COMPANIES FROM CLEARING TITLE TO SELL MY HOME
ENLESS | GIVE THE DEFENDANT KEVIN THOMPSON HALF OF PROCEEDS
OF MY HOME. THE DEFENDANT ZANITA CLIPPER HAS MADE IT VERY
HARD FOR ME TO SELL MY HOME WITHOUT TITLE COMPANIES TELLING
ME MY HOME NEED TO GO THROUGH PROBATE, EXHIBIT 6. IS ALETTER
TO DEFENDANT JUDGE DARLENE ‘BREIN EXPLAINNING THE UNLAWFUL

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BEHAVIOR BY THE SAID DEFENDANTS CLIPPER AND THOMPSON FILED
OVER A YEAR AGO THE PLAINTIFF TILL THIS DATE NEVER HEARD A
RESPONSE FROM DEFENDANT O’BREIN SHE ENTERED AN UNLAWFUL
JUDGMENT AGAINST MY HOME WITH DISREGARD FOR THE LAW THAT
WAS INTENDED TO PROTECT THE PLAINTIFF FROM TRYING TO TAKE
POSSESSION OF MY HOME ACCORDING TO MCL 700.1101 PROTECTED
CODE. THE WILL ALSO LIKE TO ADDRESS ONE OTHER FACTOR THAT
DEFENDANT DARLENE O’ BREIN KNOWINGLY KNEW ACCORING TO
EXHIBIT 1. THE JUDGMENT OF DIVORCE THAT DEFENDANTS ATTORNEY
ZANITA CLIPPER AND KEVIN THOMPSON NEVER HAD PROBABLE CAUSE
NOR DID SHE HAVE LEGAL JURISDICTION TO MAKE SUCH AN
ERRONEOUS DECISION ALLOWING DEFENDANTS CLIPPER, AND
THOMPSON TO TAKE POSSESSION OF MY HOME | OWN BY MOTION
FILED TO ENFORCE JUDGMENT ON MY HOME. THIS AN ACT OF ABUSE
OF DISCRETION BY DEFENDANT JUDGE DARLENE O’ BREIN AND ERANE
WASHINTON WHILE ACTING UNDER COLOR OF STATE LAW AT ALL TIMES
STATED IN THIS COMPLAINT. WHILE IT WAS STATED IN THE UNITED
STATES CONSTITUTION JUDGES CAN BE CONSIDERED TO BE ACTING
UNDER COLOR OF LAW WHEN THEY ENGAGE IN ACTS THAT ARE
BEYOND THEIR LAWFUL AUTHORITY BUT ARE DONE WHILE
PRETENDING TO BE PERFORMING THEIR OFICAL DUTIES. THIS IS
COVERED BY TITLE 18, SECTION 242 OF THE U.S.CODE WHICH MAKES IT
CRIME TO DEPRIVE SOMEONE OF A RIGHT OR PRIVILEGE PROTECTED BY
THE CONSTITUTION OR PRIVILEGE PROTECTED BY THE CONSTITUTION
OR LAWS OF THE UNITED STATES. DFEFENDANT JUDGE DARLENE O’
BREIN STATED IN EXHIBIT 1. THE JUDGEMENT OF DIVORCE THAT SHE
PERPARED AND ADJUCATED ON PAGE 2 OF 9 CONSTRUCTIVE TRUST
THAT IF EITHER PARTIES FAIL TO COOPERATE WITH THE TERMS OF THE

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JUDGMENT WILL BE SANCTIONED THE PLAINTIFF CONTENTS THAT SHE
IS NOT IN VIOLATION STATED IN THE JUDGMENT THE PLAINTIFF
EXHUSBAND DIED A WEEK AFTER THE DIVORCE WAS FINAL NOW
THERFORE THE PLAINTIFF BY MICHIGAN LAW TAKE FULL POSSESION OF
HER MARITAL HOME THAT DEFENDANT JUDGE O’ BREIN ONLY BY
MICHIGAN LAW CAN DIVIDE THE MARITAL PROPERTY THROUGH
DIVORCE PROCEEDINGS. SEE MCL SECTION 552.401 PAGE 7. 8. OF 9
EXHIBIT 1 THE JUDGMENT OF DIVORCE DEFENDANT JUDGE DARLENE O’
BREIN STATED HER SELF THAT THE PLAINTIFF AND HER NOW DECEASED
EXHUSBAND THAT THIS CASE WILL BE ONLY OPEN ON DISPUT OF
UNDISCLOSED PROPERTY THERFORE DEFENDANT JUDGE O’ BREIN
ACTED OUTSIDE HER JUDICIAL CAPACITY ENTERING AN JUDGMENT
AGAINST MY HOME ALONG WITH DEFENDANT JUDGE ERANE
WASHINGTON IN CLEAR ABSENCE OF ALL JURSIDICTION RENDERING
THE JUDGMENT ABSOLUTELY VOID. THE JUDGMENTS BY THE SAID
DEFENDANTS O’BREIN AND WASHINGTON HAS ENORMOUSLY
INFRINGED ON THE PLAINTIFFS CONSTITUTIONAL RIGHTS OF THE 4"
8™ 14T AMENDMENTS OF THE UNITED STATES CONSTITUTION THE
RIGHT TO BE SAFE AND SECURE INOUR HOME AND A RIGHT TO BE
FREE FROM CRULE AND UNUSUAL PUNISHMENT ALONG WITHA
GUARANTEE TO EQUAL PROTECTION OF THE LAWS THIS COUNTRY
WITH A RIGHT TO HAVE LIFE LIBERTY AND PROPERTY WITH OUT DUE
PROCESS OF LAW. THE PLAINTIFF WILL LIKE FOR THIS COURT TO BE
MINFUL THAT DEFENDANTS JUDGES DARLENE O’BREIN AND ERANE
WASHINGTON WAS WELL AWARE OF THE PASSING OF MY EXHUSBAND.
THAT TO ENTER SUCH JUDGMENT AGAINST MY HOME OUTSIDE THE
SCOPE OF THEIR JUDICAL CAPACITIES THEIR NOT EXEMPT FROM
JUDICIAL IMMUNITY.THESE SAID CONSTITUTION VIOLATIONS UPON THE

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PLAINTIFFS WERE WILLFULLY ORCHESTRATED AND PLANNED OUT BY
THE SAID DEFENDANTS IN THIS CASE. DEFENDANT JUDGE O’ BREIN
JUDGE ERANE WASHINGTON MADE JUDICIAL ADJUCATIONS OUTSIDE
OF THEIR DUTIES AND REGLATIONS ALSO SUBJECT MATTER
JURISDICTION TO ALLOW THE DEFENDANTS ATTORNEY ZANITA CLIPPER
AND KEVIN THOMPSON TO TAKE POSSESION OF MY HOME WHOM |
OWN TITLE TO.

STATEMENT OF FACTS
CHAPTER TWO 42 U.S. CODE 1985

THE PLAINTIFFS IN THIS IN CASE CHRISTINE THOMPSON AND
CHRISTOPHER ROBINSON SAFTEY AND LIFE IS IN DANGER DUE ALL INTO
THE SAID DEFENDANTS CRIMINAL ACTIONS UPON THE PLAINTIFFS THAT
DEFENDANTS LAW ENFORCEMENT AGENCIES OF WASHTENAW COUNTY
SHERIFF DEPARTMENT STATION TWO PITTSFEILD TOWNSHIPPOLICE
DEPARTMENT. THE PLAINTIFFS ARE CONSTANTLY BEING THREATENED
AND HARASSED BY THE SAID DEFENDANTS AND ALL HAVE HAD AN
MEETING IN MINDS TO TAKE POSSESSION OF OUR HOME AND SELL IT
AND DIVIDE THE PROCEEDS WITH THE DEFENDANTS IN THIS CASE

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KEVIN THOMPSON.THE PLAINTIFF CHRISTINE THOMPSON EXHUSBAND
SON AND HIS ATTORNEYY ZANITA CLIPPER ALONG WITH DEFENDANTS
JUDGES DARLENE O’ BREIN AND ERANE WASHINGTON ALL HAD AN
MEETING IN MINDS TO AWARD THE SAID DEFENDANTS MY MOTHERS
HOME, RECORDS WILL VERIFY LATER IN DISCOVEY THAT THE SAID
DEFENDANTS WASHTENAW COUNTY SHEIFF DEPARTMENT ALONG
WITH THE SAID DEFENDANTS KEVIN THOMPSON, AND ATTORNEY
ZANITA CLIPPER,HAVE COMMITTED MANY CONSTITUTIONAL
VIOLATIONS UPON ME AND MY MOTHERS HOME OUT OF RETALIATION
DUE TO THE DEFENDANTS HAVING STRONG TIES WITH THE
COMMUNITY AND LAW ENFORCEMENT AGENCIES ANF JUDGES. THE
SAID DEFENDANTS WASHTENAW COUNTY HAVE THREATENED AND
HAVE TRIED TO INTIMIDATE THE SAID PLAINTIFFS BY CONSTANTLY IN
THE LAST YEAR ATTEMPT TO TRY TO TAKE POSSESSION OF OUR HOME
THREATENING THE PLAINTIFF AND HIS MOTHER IF WE DON’T LEAVE
OUR HOME THERE GOING TO ARREST US AND TAKE US TO JAIL THIS
HAS BEEN WITHIN THE LAST MONTH OFF AND ON.THE SAID
DEFENDANTS WASHTENAW COUNTY SHERRIF DEPARTMENT WERE NOT
ACTING OUT IN GOOD FAITH NOR WITH A SEARCH WARRANT BUT ALSO
WITH NO PROBABLE CAUSE TO BE COMING TO MY RESIDENCE WITH 5
OR 6 POLICE CARS TO MY HOME WHOME WHILE PLAINTIFF MOTHER
HOLDS TO TITLE TO.THE SAID DEFENDANTS WASHTENAW COUNTY
SHERIFF DEPARTMENT AND PITTSFEILD POLICE DEPARTMENT ARE VERY
WELL FAMILIAR WITH STATE LAWS AND REGULATIONS AND
KNOWINGLY KNOW BY STATE AND FEDERAL LAW IN THE STATE OF
MICHIGAN YOU CANNOT EVICT ANY HOME ONER WHO HOLD TITLE TO
THEIR HOME. THE PLAINTIFF WILL LIKE FOR THIS COURT TO BE
MINDFUL THAT HIS MOTHERS HOME IS NOT IN FORECLOSER AND
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DOESN’T HAVE AN LANDLORD THE PLAINTIFF MOTHERS HOME IS IN
REVERSE MORTAGE SHE DOESN HAVE TO SELL HER HOME IF SHE
CHOSES NOT TO OR SHE CAN ALSO SELL IT AND PAY OFF THE MORTAGE.
THE SAID DEFENDNTS PITTSFEID POLICE DEPARTMENT SOME THREE
WEEKS AGO WITH DEFENDANTS WASHTENAW COUNTY POLICE
DEPARTMENT MADE AN VERY SERIOUS ATTEMPT TO TRY TO REMOVE
THE PLAINTIFF AND HIS MOTHER OUT THEIR HOME WITH OUT
PROBABLE CAUSE IN DOING SO NOR WITH A WAARANT WITH VERY
LOUD VERBAL THREATS OF POSSIBLE PHYSICAL FORCE WHICH
DEFINITELY WOULD HAVE MOE LIKEY ENDED UP WITH THE SAID
DEFENDANTS USINF DEADLY FORCE UPON THE PLAINTIFFS. THE
PLAINTIFFS CHRISTOPHER ROBINSON AND CHRISTINE THOMPSON HAS
A CONSTITUTIONAL RIGHT OF THE 44 AMENDENT TO BE SAFE AND
SECURE IN OUR HOME ALSO TO BE FREE FROM CRUEL AND UNUSUAL
PUNISHMENT OF THE 8™ AMENDMENT. THE PLAINTIFF CHRISTOPHER
ROBINSON LIVES ARE IN GRAVE DANGER ALL IN PART OF THE
DEFENDANTS PITTSFEILD TOWNSHIP DWPARTMENT AND DEFENDANT
JERRY CLATON SHERIFF AND DEPITIES WHOM ARE VERY CLOSLEY
ASSOCIATED WITH THE PLAINTIFF CHRISTINE THOMSON EXHUSBAND
HAS INFRINGED ON THE PLAINTIFF CHRISTOPHER ROBINSON
CONSTIUTIONAL RIGHTS OF THE 15 474 874 1474 AMENDMENT OF THE
UNITED CONSTITUTION BY COUNTLESS OF UNLAWFUL
INCARCERATIONS BY UNFOUNDED AND PROCESSED CHARGES WHICH
THE SAID DEFENDANTS WHICH TO SILENCE THE PLAINTIFFS
CHRISTOPHER AND HIS MOTHER CHRISTINE THOMPSON. SINCE THE
EARLY YEARS OF ATTEMPTING TO ADDRESS THOSE SAID DEPIVATIONS
THE PLAINTIFFS HAS BEEN GATE KEPT FROM DOING SO WHICH HAS
BEEN ADDRESSED IN THE MOTIONS FILED IN THIS COURT. THE
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PLAINTIFF WILL LIKE FOR THIS COURT TO BE BINDFUL OF THE CLAIMS
THAT ARE SET FORTH IN THIS CHAPTER TWO ARE WITHIN THE STATUTE
LIMITATIONS. IN BREIF DESCRIPTION THE PLAINTIFF HAS RECENTLY
DISCOVERED NEWLY FOUNT EVIDENCE OF INNOCENTS. THE PLAINTIFF
CHRISTOPHER ROBINSON WAS ACCUSED OF AN RAPING A WHITE
WOMAN IN 1989 AND WAS CONVICTED AND SENTENCE TO AN PRISON
TERM OF 12 TO 30 YEARS WITH AN B PREFIX OF INCARCERATION ON AN
SEPARATE CHARGE TO BE RAN CONSECUTIVE TO PLAINTIFF A PREFIX
THE CSC CONVICTION AND SENTENCE SEE EXHIBIT 7. PLAINTIFFS A/B
PREFIXES JUDGMENT OF SENTENCES BY THE TRIAL COURT. THE
PLAINTIFF UNCONSTITUTIONALLY SERVED OUT THE ENTIRE SENTENCE
DUE TO DEFENDANTS WASHTENAW COUNTY PROSECUTORS OFFICE
AND PITTSFEILD POLICE DEPARTMENT ALSO DEFENDANTS THE
MICHIGAN STATE POLICE. THE PLAINTIFF CHRISTOPHER ROBINSON WAS
NEVER LEGALLY CHARGED WITH THE SAID OFFENSE ACCORDING TO
EXHBIT 8. THE COMPLAINT FELONY THAT THE PLAINTIFF DISCOVERED
IN HIS CASE FILE WHEREAS THE OFFENSE ALLEGEDLY OCCURRED. THE
COMPLAINT FELONY WAS NEVER LEGALLY AUTHORIZED TO BRING
FORTH ANY CRIMINAL CHARGES UPON THE PLAINTIFF ALSO
ACCORDING TO THE CASE FILE THERE WERE NEVER AN WARRANT EVER
ISSUED FOR THE PLAINTIFF ARREST TO STAND TRIAL FOR THE ALLEGED
OFFENSE. THE PLAINTIFF ALSO DISOVERED EXHIBIT 9. TO THE C PREFIX
OF ALLEGEDLY ASSULTING AN POLICE OFFICER DEFENDANT STEPHEN
ANDREWS. THE COMPLAINT FELONY WARRANT FELONY ALSO THE
INFORMATION FELONY WAS NEVER AUTHORIZED BY THE WASHTENAW
COUNTY PROSECUTORS OFFICE THE SAID DOCUMENTS WERE FILED
AND RECORDED BY THE CLERK LAWRENCE KESTENBAUM OF
WASHTENAW COUNTY. THE SAID PLAINTIFF CHRISTOPHER ROBINSON

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WAS FALSLEY ACCUSED AND INCARCERATED BY DEFENDANTS
MICHIGAN STATE POLICE, ANDWASHTENAW COUNTY PROSECUTORS,
OFFICE AND DETECTIVE GARRY GRAY WITH OUT DUE PROCESS OF LAW
THAT ACCORDING TO THE EXHIBIT 8. THE COMPLAINT FELONY WAS
NEVER SWORN BEFORE THE COURT IN VOLATION OF MCL 764.1AMCL
764.1B SOME 35 YEARS AGO THE PLAINTIFF HAD NO CLUE THAT HE
WAS NEVER LAWFULLY CHARGED WITH A COMPLAINT AND WARRANT
TO HIS CSC CONVICTION AND SENTENCE. THE DISTRICT AND CIRCUIT
NEVER HAD PROBABLE CAUSE TO ARREST THE PLAINTIFF WITH OUT
CHARGES BEING AUTHORIZED AND FILED WITH THE DEFENDANTS
WASHTENAW COUNTY PROSECUTORS OFFICE. EXHIBIT 10. IS THE
COMPLAINT FELONY, WARRANT FELONY, INFORMATION FELONY IN THE
CASE WHEREAS DEFENDANT POLICE OFFICER COMPLAINNING WITNESS
SHAWN BOOTH OF PITTSFEILD TOWNSHIP POLICE DEPARTMENT MADE
FALSE STATEMENTS THAT PLAINTIFF DID ASSAULT, RESIST,OBSTRUCT
DEFENDANT POLICE OFFICER STEPHEN ANDREWS OF PITTSFEILD
TOWNSHIP POLICE DEPARTMENT. THE PLAINTIFF ARRIVED TO THE SAID
LOCATION OF 3201 BEMIS ROAD YPSILANTI MICHIGAN 48197 ON APRIL
23TH 2013 TO REPORT TO HIS THEN PAROLE OFFICER KYRA BENNETT AT
HURON VALLEY PRISON WHEREAS THE PAROLE OFFICE WAS LOCATED.
THE PLAINTIFF CHRISTOPHER ROBINSON WAS ARRESTED AND
CHARGED WITH SERVERAL PAROLE VIOLATIONS WHILE IN THE CUSTODY
OF THE MICHIGAN DEPARTMENT OF CORRECTIONS THE PLAINTIFF HAD
VERBAL DISPUTES WITH HIS THEN PAROLE AGENT KYRA BENNETT,
SUPERVISOR TANZI COLE TABB, AND MICHAEL HUGES. THE PLAINTIFF
HAD SUFERED AN PANIC ATTACK AND HA LAYED FACE DOWN ON THE
FLOOR PAROLE SUPERVISOR CALLED PITTSFEILD POLICE DEPARTMENT
STATING THE PLAINTIFF WS BEING DISORDERLY AND WOULDN'T SIT

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DOWN. NOT THAT THE PLAINTIFF HAD COMMITTED ANY CRIME OR
SORT THE PITTSFEILD POLICE DEPARTMENT ARRIVED WITH OUT BEING
INCONJUCTION WITH THE MICHIGAN STATE POLICE WHOM HAS TOTAL
JURISDICTION OVER STATE PRISONS THE SAID DEFENDANTS POLICE
OFFICERS OF PITTSFEILD TOWNSHIP, DEFENDANTS STEPHEN ANDREWS,
JIM MUADLIN, SGT HENRY FUSIK WAS ACTING UNDER COLOR OF LAW
AT ALL TIMES WITH OUT PROBABLE CAUSE BEING AT THE SAID
LOCATION NOR AN WARRANT FOR MY ARREST ALSO NOT WITHIN THEIR
PERSPECTIVE JURISDICTION. TH DEFENDANT STEPHEN ANDREWS
PHYSICALLY ASSULTED THE PLAINTIFF THEN TURN AROUND AND
FRAMED THE SAID DEFENDANT CHRISTOPHER ROBINSON OF AN
UNFOUNDED AND UNLAWFUL CHARGE OF ASSULTING AN POLICE
OFFICER. THE DEFENDANT POLICE OFFICER PICKED THE PLAINTIFF UP
OFF THE GROUND BY THE HANDCUFFS AND SLAMMED THE PLAINTIFFS
FACE UPON THE FLOOR CAUSING AN INJURY TO THE PLAINTIFF CHIN
WHICH PLINATIFF RECEIVED 6 STICHES FOR LATER. DEFENDANT JIM
MAULIN WAS PRESENT AT THE TIME AND WITNESS THE ASSAULT AND
DIDN’T TAKE PROTOCAL ACTIONS BY LAW AND PITTFEILD TOWNSHIP
POLICE DEPARTMENT POLICES AND REGULATIONS THAT WILL BE
ADDRESSED IN DISCIVERY IN THIS SUIT. THE DEFENDANTS JIM MAULIN,
STEPHEN ANDREWS, SGT HENRY FUSIK REFUSED THE PLAINTIFF OF
MEDICAL ATTENTION ONCE HURON VALLEY AMBULANCE ARRIVED BY
NOT LETTING THE PLAINTIFF SEEK PROMPT AND PROFESSIONAL
MEDICAL ATTENTION. THIS WAS THE BEGINNING OF AN CONSPIRACY
COVER UP BY THE SAID DEFENDANTS OF THE PITTSFEILD TOWNSHIP
POLICE DEPARTMENT KNOWING THAT IF THE PLAINTIFF WAS TO HAVE
SEEKED MEDICAL ATTENTION AND MADE AN COMPLAINT AGAINST
POLICE OFFICER ANDREWS BUT THE PLAINTIFF EQUAL PROTECTION OF

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THE LAWS OF THE UNITED STATES CONSTITUTION WAS TAKINGAWAY BY
THE SAID DEFENDANTS TO COVER UP THE ASSAULT ON THE
PLAINTIFF.SEE EXHIBIT 11. THE POLICE REPORT PERPARED BY THE
DEFENDANT STEPHEN ANDREWS THAT WAS MADE ON PURE
FABRICATION OF FALSE STATEMENTS TO OBTAIN AN TAINTED AND
UNLAWFUL COVICTION. THE PLAINTIFF WILL LIKE FOR THIS COURT TO
PLEASE RECOGNIZE THAT THE PLAINTIFF IS NOT CHALLENGING THE
LEGALITY OF HIS CONVICTION OR SENTENCE ONLY IN REGARDS TO THE
PLAINTIFF DEPRIVATION LIBERTY THAT WAS CREATED UPON AN
PROCESS THAT THE COURT NEVER HAD PROBABLE CAUSE NOR
JURISDICTION TO TAKE THE PLAINTIFF TO TRIAL, THAT INDEED CAUSE
NUMEROUS OF INFRINGEMENTS OF THE PLAINTIFF CONSTITUTIONAL
RIGHTS OF THE 8'4 4TH AMENDMENTS TO BE FREE FROM CRULE AND
UNUSUAL PUNISHMENT AND THE EQUAL PROTECTION OF THE LAWS OF
THIS STATE AND COUNTRY THAT WAS HANDED DOWN BY THE
DEFENDANTS. THE PLAINTIFF WAS TRANSFERED BACK AND FORTH BY
THE MICHIGAN DEPARTMENT OF CORRECTIONS, BY HABEAS CORPUS
NOT THAT THE DEFENDANTS OF WASHTENAW COUNTY PROSECUTORS
HAD PROBABLE CAUSE OR AN WARRANT TO SEIZE THE PLAINTIFF FOR
CHARGES TO STAND TRIAL FOR BUT SAID DEFENDANTS IN THIS CASE
JUDGES ALLAN THOMAS TRUESDELL ARRAIGNED THE PLAINTIFF
CHRISTOPHER BERNARD ROBINSON ON KNOWING HE NEVER HAD
GENERAL JURISDICTION TO CHARGE THE PLAINTIFF IN OPEN COURT
WITH OUT CHARGES BEING PROPERLY PROCESSED AND FILED. THE
PLAINTIFF WAS BOUNDED OVER TO THE TRIAL COURT ON THE
DEFENDANT POLICE OFFICER STEPHEN ANDREWS TESTIMONY ALONE.
IN EXHIBIT 12. THE PLAINTIFFS PRELIMINARY EXAMINATION
TRANSCRIPTS PLAY OUT INTO A WILLFUL 18 U.S. CODE 242-

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DEPRIVATION OF RIGHTS UNDER COLOR OF LAW BY THE SAID
DEFENDANTS WASHTENAW COUNTY PROSECUTORS OFFICE AND
PITTSFEILD TOWNSHIP POLICE DEPARTMENT AND JUDGE JOSEPH J.
BURKE WHO MADE FALSE AND MISLEADING STATEMENTS THAT THE
COMPLAINT WAS FIED AND THERE WAS AN WARRANT FOR MY ARREST
AND IWAS ARRESTED. EXHIBIT 12. THE PLAINTIFF MAKES REFERENCE
THAT HE WAS NEVER ARRESTED NOR CHARGE WITH SAID CHARGE OG
ASSULTING DEFENDANT ANDREWS ACCORDING TO THE COMPLAINT
AND WARRANT EXHIBIT 9. WHICH WAS CLEAR TO DEFENDANT JUDGE
BURKE THAT THE PLAINTIFF WAS NEVER CHARGED WITH THE SAID
OFFENSE. TDEFENDANTS WASHTENAW COUNTY PROSECUTORS OFFICE
MOVE THE COURT TO BIND THE PLAINTIFF ON CHARGES THAT WAS NOT
ONLY UNFOUNDED BUT NOT LAWFULLY CHARGED IN THE COURT OF
LAW. THE PLAINTIF CONTENDS THAT HE HAS AN CONTITUTIONAL RIGHT
THAT’S GUARANTEED BY THE 14™4 AMENDMENT TO EQUAL
PROTECTION OF THE LAWS AND TO DUE PROCESS. THE PLAINTIFF
ASSERTS THAT HE IS ON SOLID GROUND AND ON THIS AMERICAN SOIL.
18 U.S.C. 242 THIS PROVISION MAKES IT A CRIME FOR SOMEONE
ACTING UNDER COLOR OF LAW TO WILLFULLY DEPRIVE A PERSON OFA
RIGHT OR PRIVILEGE PROTECTED BY THE CONSTITUION OR LAWS OF
THE UNITED STATES. MULTIPLE DEPRIVATIONS OF THE PLAINTIFFS
CIVILRIGHTS CASE WILLFUL CRIMES HAS BEEN COMMITTED UPON THE
PLAINTIFF IN THE DISTRICT AND CIRCUIT COURT ONCE THE
DEFENDANT WAS BOUNDED OVER TO THE TRIAL COURT WASHTENAW
COUNTY PROSECUTORS DEFENDATS KNOWINGLY AND INTENTIONALLY
CONVICTED THE PLAINTIFF ON FALSE STATEMENTS, FALSE REPORTS,
FALSE TESTIMONY, FALSE EVIDENCE WITH OUT LAWFUL JURISDICTION
IN KNOWING SO. THIS WAS A COMPLETE CASE OF FARCE AND

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MOCKERY UPON THE PLAINTIFF UNDER THE SHEILD OF THE 1871 KLUX
KLAN ACT OF ALL WHITE PROSECUTORS, ALL WHITE JUDGES, ALL WHITE
POLICE OFFICERS, AND AN OFFICER WHO WAS WHITE AS WELL AS THE
ALLEGED VICTUM IN THE PLAINTIFF CSC CONVICTION AND SENTENCE.
THE PLAINTIFF WAS CONVICTED AND SENTENCED TO A PRISON TERM
OF 2 TO 4 YEARS CONSECUTIVE TO MY PAROLE. THE PLAINTIFF
REPERSENTED HISELF AT HIS PRELIMINARY HEARING AND TRIAL ALL
BECAUSE THE STATE WAS TRYING TO FORCE ME TO TAKE A PLEA DEAL
TO CLEAR UP FOR THE SAID DEFENDANT POLICE OFFICER ANDREWS
ASSULTING AND INJURING THE PLAINTIFF IN DOING SO THE
DEFENDANTS WERE ACTING OUTSIDE THEIR JURISDICTION AS A POLICE
ENTITY SO THEREFORE THAT’S WHEN ALL SAID DEFENDANTS HAD A
MEETING IN MINDS TO CONSPIRE TO CONVICT THE PLAINTIFF TO
COVER THE UNLAWFUL AND MIS JUST WAS DONE TO THE PLAINTIFF.
EXHIBITS 13. DEFENDANTS PITTSFEILD TOWNSHIP POLICE USE OF
FORCE REPORTS AND ALSO INVESTIGATIVE REPORTS OF AN COMPLETE
COVER UP AND A CLEAR DISREGARD OF THE PLAITIFF CONTITUTIONAL
RIGHTS THAT’S AFFORDED TO HIM BY THE UNITED STATES
CONSTITUTION. THE PLAINTIFF IN THIS CASE FILED A SUCCESSFUL
APPEAL OF THE UNWANTON TAINTED CONVICTION THAT CREATED A
SERIOUS DELIBERATE INDIFFERENCE IN THE PLAINTIFF LIFE THE
MICHIGAN COURT OF APPEALS VACATED THE SAID CONVICTION AND
SENTENCE AND THE DEFENDANTS THREATENED THE PLAINTIFF WHEN |
APPEARED IN COURT IN WHICH | THOUGHT | WAS GOING TO BE
RELEASED | WAS TOLD BY DEFENDANTS WASHTENW COUNTY
PROSECUTORS OFFICE IF | DIDN’T PLEA GUILTY TO A MISDEMEANOR
THEY WILL TAKE ME BACK TO TRIAL. SEE EXHIBIT 14. THE MICHIGAN
COURT APPEALS ORDER AND OPINION VACATING THE PLAINTIFFS

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CONVICTION AND SENTENCE. WITH OUT ANY CHARGES EVER FILED
RELATED TO THE SAID OFFENSE THE DEFENDANTS WASHTENAW
COUNTY PROSECUTORS OFFICE, JUDGE CAROL KUHNKE KNOWINGLY,
AND INTELLIGENTLY, WITHOUT LAWFUL JURISDICTION AND PROABALE
CAUSE RECONVICTED THE PLAINTIFF OF HE SAME CHARGE, WITH THE
SAME CASE NUMBER,AND COMPLAINT AND WARRANT THAT WAS
NEVER AUTHORIZED BY THE DEFENDANTS WASHTENAW COUNTY
POSECUTORS OFFICE. THE PLAINTIFF STATES THAT THERES NO LEGAL
WAY THAT THE SAID DEFENDANTS DID NOT HAVE AN MEETING IN
MINDS TO FRAME THE PLAINTIFF OF UNFOUNDED CHARGES WITHOUT
DUE PROCESS OF LAW. ALL SAID JUDGES AND PROSECUTORS HAVE
EXCESS TO THE CASE FILE WHEN PLAINTIFF DESPERATELY TRIED
WARNING THE COURT OF THESE SAID CONSTITUTIONAL VIOLATIONS
THE RECORD IN THE DISCOVERY PHASE WILL FIND THAT ALL SAID
DEFENDANTS ACCORDING TO THE RECORD THE PLAINTIFF WAS
FIGHTING FOR HIS LIBERTY AGAINST THE POWERS THAT BE WITH THE
INTELLIGENCE OF TRYING TO AT LEAST PERSERVE THESE SAID
CONSTITUTIONAL VIOLATIONS FOR THE RECORD IN KNOWING | WAS
TOTALLY INNOCENT AND WAS GOING TO BE CONVICTED AND
RECONVICTED BY THE DEFENDANTS. THIS IS THE HISTORY OF 1871 OF
THE KUKLUX KLAN ACT 1871 WHEREAS THE PLAINTIFF CANT SEEM TO
REDRESS HIS AND HIS MOTHERS CONSTITUTIONAL RIGHTS IN FEDERAL
COURT THAT WAS INFRINGED UPON. THE PLAINTIFF SUSPECT THE
OBVIOUS THAT ACCORDING TO THE STATE OF MICHIGAN THE PLAINTIFF
WHO IS AFRICAN AMERICAN WHO IS ON SOLID GROUND AND ON
AMERICAN SOIL THAT HE AND HIS MOTHER CANNOT REDRESS OUR
CONSTITUTIONAL RIGHTS AS AFRICAN AMERICANS AND HOLD THE
STATE AND POLICE RESPONSIBLE FOR THEIR UNLAWFUL ACTIONS

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WHILE BEING CLOTHED UNDER THE COLOR OF STATE LAW. THE PITTS
FEID TOWNSHIP POLICE DEPARTMENT DEFENDANTS LT.SEAN
MCCORMICK, AND COMPLAINNING WITNESS IN THE CSAE UPON
STEPHEN ANDREWS ALL OBSTRUCTED JUSTICE IN COVERING UP FOR
THE SAID DEFENDANTS AND WHEN BY LAW AND PITTSFEILD TOWNSHIP
POLICE DEPARTMENT AND PUBLIC SAFTEY DIRECTOR MATTHEW
HARSHBERGER COULD HAVE PROTECTED THE PLAINTIFFS
CONSTITUTIONAL RIGHTS FROM FURTHER BEING INFRINDED UPON
FROM THE SAID DEFENDANTS THATS STATED IN THIS COMPLAINT.
EXHIBIT 14. 1S THE JUDGMENT OF SENTENCES THAT WAS HANDED
DOWN BY THE TRIAL COURT OF WASHTENAW COUNTY BY DEFENDANTS
JUDGE DONALD SHELTON,JUDGE CAROL KUHKNE. THE PLAINTIFF WAS
CONVICTED OF THE SAID CHARGE OF ALLEGALLY ASSULTING POLICE
OFFICER STEPHEN ANDREWS ON JANUARY 14™ 2014. THE MICHIGAN
COURT APPEALS VACATED THE PLAINTIFF CONVICTION TWO YEARS
LATER ON JANUARY 28, 2016 AND THE PLAINTIFF WASN’T RELEASED BY
THE SAID DEFENDANTS JUDGE CAROL KUHNKE INSTEAD THE
DEFENDANTS WASHTENAW COUNTY PROSECUTORS OFFICE ALONG
WITH JUDGE KUNKE RETRIED AND RECONVICTED THE PLAINTIFF ON NO
CHARGES EVER BEING FILED BY THE STATE OF MICHIGAN NOR THE
WASHTENAW COUNTY PROSECUTORS OFFICE. THE PLAINTIFF WASN’T
RELEASED FROM PRISON ON THE SAID CHARGE OF ALLEGALLY
ASSULTING DEFENDANT POLICE OFFICER STEPHEN ANDREWS UNTIL
2018. AND WAS DISCHARGED OFF PAROLE ON A VOID SENTENCE FROM
THE TRIAL COURT ON THE SAID CHARGE IN FEBUARY OF 2022. SO
THEREFORE THE PLAINTIFF STATUTE OF LIMITATIONS IN THE STATE OF
MICHIGAN TO REDRESS ANY CONSTITUTIONAL DEPRIVATIONS BY THE
UNITED STATES CONSTITUTION IS THREE YEARS. THE MICHIGAN COURT

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OF APPEALS NEVER GAVE THE TRIAL COURT THE JURISDICTION TO
RETRY THE PLAINTIFF IT WOULD HAVE BEEN REALLY FRIVOLOUS FOR
THE PLAINTIFF TO TRY TO APPEAL A CONVICTION THAT WAS ALREADY
ADJUDICATED AND RULED ON WITH THE MICHIGAN COURT OF
APPEALS HAVING NO JURISDICTION OVER THE CASE ALONG WITH THE
TRIAL COURT. THE PLAINTIFF PLANS TO INTRODUCE IN DISCOVERY OF
BOTH TRIAL TRANSCRITS OF WHAT TO BE PLAYED OUT LIKE SOME
KINDA MINI SERIES ON TELEVISION.SINCE BEING RELEASED FROM
PRISON IN 2018. THE PLAINTIFF HAS DESPERATLEY TRIED TO REDRESS
THESE CLAIMS IN THE EASTERN DISTRICT COURT OF MICHIGAN AND
HAS HORRIBLY FAILED DUE UNLAWFUL INTERFERENCE BY LAW
ENFORCEMENT AGENCIES, CLERKS OF THE COURT, JUDGES CASE
MANAGERS ALSO ANI’T NO TELLIN WHO ELSE. EXHIBIT 15.1S A CITIZEN
COMPLAINT FILED BY THE PLAINTIFF CHRISTOPHER ROBINSON STATING
OUT THE SAME FACTS IN THIS CASE BY THE SAID DEFENDANTS OF
WASHTENAW COUNTY POLICE DEPARTMENT AND PITTSFEILD
TOWNSHIP POLICE DEPARTMENT TO THE SAID DEFENDANTS THE
MICHIGAN STATE POLICE TROOPER KACHELSKI OF BRIGHTON
MICHIGAN POST. EXHIBIT 15. STATE OUT THE SAME SIMILAR FACTS
SURROUNDING THIS CASE AND THE SAID DEFENDANTS MICHIGAN
STATE POLICE OF BRIGHTON MICHIGAN ALSO INFRINDGED ON THE
PLAINTIFF CONSTIUTIONAL RIGHTS THAT’S AFFORDED AND
GUARANTEED BY THE CONSTITUTION OF EQUAL PROTECTION OF THE
LAWS OF THIS COINTRY. THE PLAINTIFF IN THIS CASE CHRISTOPHER
ROBINSON PRESENTED TO MUCH OVERWELIMING EVIDENCE TO THE
DEFENDANTS MICHIGAN STATE POLICE OF THE PLAINTIFF BEING
PHYSICALLY ASSULTED AND FRAMED FOR A CRIMINAL CHARGE |
NEVERED COMMITED BY DEFENDANT POLICE OFFICER STEPHEN

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ANDREWES OF PITTSFEILD TOWNSHIP POLICE DEPARTMENT. EVERY
SINCE THE FILING OF THE COMPLAINT AND DISMISSING ALL OF
PLAINTIFFS ALLEGATIONS AND CIVIL SUITS BEING FILED THE PLAINTIFFS
CHRISTOPHER ROBINSON, AND MOTHER CHRISTINE THOMPSON HAS
BEEN TARGERTED AND HARASSED FOLLOWED AND TO THE POINT THAT
THE PLAINTIFFS CANT NOT MAKE ANY CRIMINAL COMPLAINTS
SURROUNDING THESE SERIOUS CLAIMS. THE PLAINTIFFS HAVE MADE
EVERY ATTEMPT TO SEEK PROTECTION AND HELP FROM THE SAID
DEFENDANT ALSO DEFENDANTS OF OAK PARK MICHIGAN STATE POLICE
DEPARTMENT HAS REFUSED TO ALLOW THE PLAINTIFF TO FILE A
CITIZEN COMPLAINT WITH DEFENDANTS OF THE OAK PARK POLICE
DEPARMENT AND WAS ORDER TO LEAVE. THE PLAINTIFFS STATES THAT
IN THIS HYBRID COMPLAINT IS THAT STATE AND LOCAL LAW
ENFORCEMENT ARE GATE KEEPING THE PLAINTIFFS FROM EXERCISING
OUR CONSTITUTIONAL RIGHTS TO BE SAFE AND SECURE IN OUR HOME.
ALSO TO BE FREE FROM ANY CRUEL AND UNUSUAL PUNISHMENT BY
THE SAID DEFENDANTS FOR EXERCISING OUR RIGGHT TO SPEAK OUT
CONCEARNING ALL THESE SAID MATTERS THAT’S STATED IN THIS
COMPLAINT. THE SAID DEFENDANTS OF WASHTENAW COUNTY LAW
ENFORCEMENT ANGENCIES AND THE WASHTENAW COUNTY
PROSECUTORS OFFICE ALSO ALONG THE MICHIGAN STATE POLICE ARE
AND HAVE BEEN TRYING TO DO HARM TO THE SAID PLAINTIFFS ALL IN
DUE TO THE PLAINTIFF ALLEGED RAPE OF AN WHITE WOMAN AND
BEING PHYSICALLY ASSULTED BY AN WHITE POLICE OFFICER. THE
PLAINTIFF WILL LIKE FOR THIS COURT TO BEMINFUL THE PLAINTIFF
POSSESSES AND HOLDS TO DOCUMENTS THAT THE ATTACK ON THE
PLAINTIFF AND NOW HIS MOTHER PLAINTIFF CHRISTINE THOMPSON
FALLS CLEAR IN THE HANDS OF THE KU KLUX KLAN ACT OF 1871 BY

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WHITE POLICE OFFICERS AND JUDGES ABUSING THEIR POWER AND
DISCRETION TO AVOID FROM THE PLAINTIFFS SPEAKING OUT AND
REDRESSING OUR DEPRIVATIONS OF OUR CONSTITUTIONAL RIGHTS BY
THE HANDS OF THE SAID DEFENDANTS. THIS SUIT DETAILS ALL THE
FACTS SUPPLIED WITH PHYSICAL EVIDENCE AS TO WHY THE PLAINTIFFS
LIVES ARE IN IMMEDIATE DANGER BY THE SAID DEFENDANTS THE SAID
DEFENDANTS OF WASHTENAW COUNTY AND PITTSFEILD TOWNSHIP
POLICE DEPARTMENT KEEP ON CONSTANTLY SHOWING UP TO THE
PLAINTIFS HOME SEIZING OUR HOME TRYING TO VERBALLY FORCE THE
PLAINTIFF AND HIS 70 YEAR OLD MOTHER OUT OF HER HOME THAT
SHE LAWFULLY OWN. BY THREATENING AND INTIMADATING ACTIONS
BY MAKING VERBAL THREATS OF POSSIBLE ARREST AND DETAINMENT
WITH OUT PROBABLE CAUSE R AN WARRANT THAT’S A VIOLATION OF
PLAINTIFFS 4™4 AMENDMENT RIGHTS TO BE SAFE AND SECURE IN OUR
HOME. THE SAID DEFENDANTS PITTSFEILD TOWNSHIP POLICE
DEPARTMENT ARRIVING TO THE PLAINTIFF HOME ACTING OUTSIDE
THEIR JURISDICTION ALSO WITHOUT PROBABLE CAUSE OR A SEARCH
WARRANT. THESE ACTIONS BY THE SAID DEFENDANTS NOT ARE JUST
OUT OF RETALIATION BUT NOR WAS THEIR ACTIONS AT ALL IN GOOD
FAITH ARRIVING TO THE PLAINTIFFS HOME 6. TO 7. CARS DEEP IN MY
NEIGHBORHOOD TWICE A WEEK ALONG WITH DEFENDANT CIVIL
SERVICE PATRICK COLLIGAN SERVING THE PLAINTIFFS WITH LANDLORD
TEANANTS EVICTION PAPERS. ALL OF THE SEIZURES OF OUR HOME BY
THE SAID DEFENDANTS ARE CAPTURED ON THEIR BODYCAM ALL OF
THE SAID DEFENDANTS IN THIS CASE HAS ALL HAD MEETING IN MINDS
TO SILENCE THE PLAINTIFFS DUE TO THE PLAINTIFF CHRISTOPHER
ROBINSON HAVING TO POSSESS FALSIFICATION OF LEGAL BINDING
DOCUMENTS WITH INTENTIONAL FALSE STATEMENTS MADE BY PUBLIC

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OFFICALS TO HAVE INCACERATED THE PLAINTIFF FOR MANY YEARS OF
HIS LIFE WITHOUT EQUAL PROTECTION OF THE LAWS OF THE UNITED
STATES TO DUE PROCESS OF HANDED DOWN BY CROOKED AND
CORRUPT POLICE OFFICERS AND JUDGES. THE PLAINTIFF CHRISTINE
THOMPSON THE MOTHER OF THE PLINTIFF HAS NOW BEEN TARGETED
BY THE SAID DEFENDANTS BY NOW MAKING EVERY UNLAWFUL
ATTEMPT TO CONSPIRE WITH THE SAID DEFENDANTS ATTORNEY
ZANITA CLIPPER, KEVIN THOMPSON,JUDGES DARLENE O’BREIN, ERANE
WASHINGTON TO TAKE UNLAWFUL POSSESSION OF MY HOME OUT OF
RETALIATION CAUSING AN DELIBERATE INDIFFERENCE TO THE
PLAINTIFFS MENTAL AND PHYSICAL HEALTH. THE PLAINTIFFS WILL LIKE
FOR THIS TO BEMINDFUL THAT THE PLAINTIFFS LIVE EXCLUSIVELY IN
THE NEIHBORHOOD FULL OF WASHTENAW COUNTY SHERIFFS
DEPUTIES, MICHIGAN STATE TROOPERS, PROSECUTORS, FEDERAL
AGENTS ETC. THE PLAINTIFF CHRISTOPHER ROBINSON IS AN
CONVICTED SEX OFFENDER WHO UNLAWFULLY REMAINS ON THE
MICHIGAN SEX OFFENDER REGISTERY AND ALSO A TARGET OF THAT
STIGMA IN THE COMMUNITY. THE PLAINTIFF HAS BEEN ALERTED BY A
COUPLE WHISTLE BLOWERS IN THE NEIGHBORHOOD THAT THE
PLAINTIFF AND THE PLAINTIFF MOTHER HOME HAS HIDDDEN CAMERAS
AND HAD BEEN PLACED IN MORE THEN LIKELY WHEN THE PLAINTIFFS
WAS TRYING TO SELL THEIR HOME AND HAD A OPEN HOUSE. THE SAID
PLAINTIFFS WERE GONE FROM THEIR HOME FOR SERVERAL HOURS.
ALSO THE WHISTLE BLOWERS HAVE STATED THAT THE LAW
ENFORCMENT OF WASHTENAW COUNTY PLACED THE HIDDEN
CAMERAS AND THAT THROUGH USING OUR WIFI AND USING SOME
CODE OR APP THE ENTIRE PEOPLE IN OUR NEIGHBORHOOD CAN HEAR
AND SEE EVERYTHING THAT’S GOING ON IN OUR HOME. THE WHISTLE

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BLOWERS IN THIS CASE ARE TERRIFIED OF THE LAW ENFORCEMENT
AGENCIES WHO HAS CREATED ALL THIS AND KNOWS OF ALL UNLAWFUL
ACTIONS UPON THE PLAINTIFS BEHIND THE SCEANS IN MEETINGS OF
THE NEIGHBORHOOD WATCH ETC. THE PLAINTIFFS HAVE NEVER HAD
AN INVITATION TO AN NEIGHBORHOOD WATCH MEETING. THE ENTIRE
COMMUNTIY OF CHARTER TOWNSHIP HAVE UNLAWFUL ACCESS TO
OUR HOME INVATED OUR PRIVACY AND INFRINGING ON THE PLAINTIFF
CONSTITUTIONAL RIGHTS TO BE SAFE AND SECURE IN OUR HOME. THE
PLAINTIFF CHRISTOPHER HAS HAD MANY VERBAL CONFRONTATIONS
WITH NEIBORS AND PEOPLE IN OUR NEIGHBOR HOOD INVADING OUR
PRIVACY. THE PLAINTIFF HAD MADE NUMEROUS OF POLICE REPORTS
ABOUT THIS MATTER TO DEFENDANTS WASHTENAE COUNTY POLICE
DEPARTMENT AND THE MICHUGAN STATE POLICE TROOPER WHO WAS
AN EYE WITNESS TO AN VERY LONG ORANGE WIRE RUNNING FROM
ALL THE WAY FROM MY NEIGHBORS HOUSE FROM ACROSS THE STREET.
EVEN DEFENDANT STATE TROOPER KACHELSKI FROM BRIGHTON STATE
POST STATED EVEN HE THOUGHT THAT WAS WEIRD OR ODD THE
PLAINTIFF STATED TO DEFENDANT STATE TROOPER KACHELSKI WHO
WAS AT THE PLAINTIFF RESIDENCE TO PICK UP THE CITIZEN COMPLAINT
THAT HD COVERED SOME OF THE ACTIONS BY THE SAID DEFENDANTS
OF LAW ENFORCEMENT AGENCIES. THE PLAINTIFF HAD CONFRONTED
HIS NEIGHBOR ABOUT THE LONG ORANGE WIRE RUNNING FROM HIS
CABLE BOX TO MINDS HE STATED TO ME THAT THAT’S OW HE GETS HIS
INTERNET | TOLD JOHN DOE AND FOR HIS WIFE JANE DOE TO HAVE IT
TAKEN DOWN HE STATED YES HE WOULD. NOW THERFORE RIGHT THEN
AND THERE JOHN DOE KNOWINGLY KNEW THE PLAINTIFF KNEW HE
HAD UNLAW ACCESS TO THE PLAINTIFFS HOME. RECORDS IN THE
DISCOVERY PHASE WILL UNCOVER SERVERAL POLICE REPORTS STATING

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THESE FACTS TO THE IN VASION OF OUR PRIVACY. EVERDAY MANY CARS
ARE POSTED EITHER OUT IN FRONT OF OUR HOUSE AND IN THE
PARKING LOT OF THR FORD HERITAGE PARK WHEREAS OUR HOME SITS
RIGHT ACROSS FROM AND THE PLAINTIFF WAS TOLD THE CARS ARE
THERE EVERYDAY THAT’S WHERE THEY CAN PICK UP OUR WIFI RANGE
FROM A CERTAIN DISTANCE, THE PLAINTIFF DON’T KNOW WHERE THE
HIDDEN CAMERAS ARE IN OUR HOME BUT ITS CLEAR AND ABVIOUS AS
TO NOW WHY THE PLAINTIFFS HAVE ALL THE UNECESSARY TRAFFIC
SURROUNDING THEIR HOME. THE PLAINTIFF CHRISTOPHER ROBINSON
JUST RECENTLY ALMOST HAD AN PHYSICAL ALTERCATION WITH A
REITRED POLICE OFFICER WHO LIVES BEHIND THE PLAINTIFF MAKING
VERBAL THREATS TO ME ALSO THE DEFENDANTS OF WASHTENAW
COUNTY POLICE DEPARMENT WHO LIVES IN MY NEIGHBORHOOD AND
IS SOME OF THE ONES WHO BE COMING TO THE PLAINTIFFS HOME
MAKING VERBAL THREATS TO THE PLAINTIFF IN TRYING TO SEIZE OUR
HOME. ALSO DEFENDANT POLICE OFFICER FROM PITTSFEILD
TOWNSHIP POLICE DEPARTMENT WHO JUST TWO WEEKS AGO PRIOR
TO THIS COMPLAINT CAME TO THE PLAINTIFFS RESIDENCE ACTING
OUTSIDE JURISDICTION WITH OUT A WARRANT OR BEING
INCONJUCTION WITH THE MICHIGAN STATE POLICE STATED TO THE
PLAINTIFF THAT DEFENDANT JUDGE DARLENE O’ BREIN GAVE HIMA
EVICTION NOTICE FOR THE PLAINTIFF AND HIS MOTHER TO LEAVE THE
PREMISES WHICH WE REFUSE TO DO SO. THE PLAINTIFFS PRIVACY IS
BEING INVADED WE CANT MAKE A POLICE REPORT WERE BEING
FOLLOWED AND TRACKED TO EVERY MOVE WE MAKE AND CANT
REDRESS OUR CIVIL RIFHTS THAT’S BEEN INFRINGED UPON. OUR LIVES
ARE IN GRAVE DANGER THE PLAINTIFF HAVE WITNESS THAT THE
DEFENDAT KEVIN V. THOMPSON THE SON OF THE PLAINTIFF

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EXHUSBAND WHO OPENED UP THIS UNLAWFUL EVICTION PROCESS TO
THE PLAINTIFF HOME HIM WITH ATTORNEY DEFENDANT ZANITA
CLIPPER. THAT THE PLAINTIFFS HOME MYSTERIOUSLY CAUGHT FIRE THE
LAST DAY OF THE DEFENDANT AND HIS SON PICKED UP SOME OF HIS
FATHERS PERSONAL PROPERTY SEE EXHIBIT 16, PHOTOS OF FIRE TO THE
PLAINTIFFS HOME. RECORDS WILL SHOW LATER IN DISCOVERY THAT ON
AUGUST 7" 2022 THE PLAINTIFF WAS IN A SERIOUS CAR CRASH THAT
LEFT THE PLAINTIFF WITH SERIOUS SPINAL CORD INJURIES WITH TWO
CERVICAL SURGERIES TO THE NECK WITH TILL THIS DATE IN NEED OF
TWO MORE SPINAL CORD BACK SURGERIES. THE PLAINTFF ALLEGES
THAT RECORDS WILL SHOW THAT FROM THE TIME OF 2011. WHEN
PLAINTIFF PAROLED ON HIS CSC CONVICTION AND SENTENCE THAT THE
PLAINTIFF COMPLAINED TO HIS PAROLE AGENT KYRA BENNETT OF
WASHTENAW COUNTY AND PAROLE AGENT FROM WAYNE COUNTY
THAT THE PLAINTIFF IS BEING FOLLOWED BY LAW ENFORCEMENT
AGENCIES OF WASHTENAW COUNTY AND CONSTANT COMPLAINTS OF
ALMOST BEING RAN OFF THE ROAD ON NUMEROUS OF OCCASSIONS.
PLAINTIFF PAROLED IN 2018. ON THE ALLEGED ASSULT ON DEFENDANT
POLICE ANDREWS ON AN VOID SENTENCE FROM THE TRIAL COURT
WAS BEING TARGETED BY DEFENDANTS OF PITTSFEILD TOWNSHIP
POLICE DEPARMENT AND WASHTENAW COUNTY SHERIFFS ESPECIALLY
WHEN THE PAINTIFF TRIES TO REDRESS THE WRONG DOINGS OF THE
SAID DEFENDANTS.

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KU KLUX KLAN ACT OF 1871 TO ENFORCE THE
PROVISISONSOF THE FOURTEENTH AMENDMENT TO THE
CONSTITUTION OF THE UNITED STATES AND OTHER PURPOSES”

UNITED STATES SUPREME COURT
MONROE V. PAPE 365 U.S.167 (1961)

THE PLAINTIFFS CONTENDS THAT IT WAS STATED IN MONROE V. PAPE
365 U.S. 179 THIS SECTION WHO MAY HAVE BEEN INJURED IN ANY OF
HIS RIGHTS, PRIVILEGES, IMMUNITES OF PERSON OR PORPERTY A CIVIL
ACTION FOR DAMES AGAINST THE WRONFDOER IN FEDERAL COURTS.
THE OFFENSES COMMITTED AGAINST HIM MAY BE THE COMMON
VIOLATIONS OF THE MUNICIPAL LAW OF HIS STATE . IT MAY GIVE RISE
TO NUMEROUS VEXATIONS AND OUTRAGEOUS PROSECUTIONS,
INSPIRED BY MERE MERCENARY CONSIDERATIONS, PROSECUTED INA
SPIRIT OF PLUNDER, AIDED BY THE CRIMES OF PERJURY AND
SUBORNATION OF PERJURY, MORE RECKLESS AND DANGEROUS TO
SOCIETY THAN THE ALLEGED OFFENSES OF WHICH THE CAUSE OF
ACTION MAY ARISEN. THE PLAINTIFFS ASSERTS THAT THE SAID
DEFENADNTS IN THIS CASE HAS COMMITTED STATE AND FEDERAL
CRIMES UPON PERSON AND PROPERTY WITH OUT DUE PROCESS OF
LAW. OF THE 147 AMENDMENT OF THE UNITED STATES CONSTITUTION
THAT CAUSE FOR REDRESS OF THE PLAINTIFF CONSTITUTIONAL RIGHTS
BY SAID DEFENDANTS THAT HAVE WILLINGLY PARTICIPATED INA
CONSPIRASCY TO HARM THE PLAINTIFFS WHILE ACTING UNDER THE
COLOR OF LAW. THESE SAID ACTIONS UOPN THE PLAINTIFFS BY THE
SAID DEFENDANT WERE WILLFUL AND MEANT TO CASUSE MENTAL
AND PHYSICAL INJURIES TO THE PLAINTIFFS. THE ACTIONS UPON THE

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PLAINTIFFS BY THE SAID DEFENDANTS ARE ACTIONS OF THE 1871 KU
KLUX KLAN ACT THE PLAINTIFFS ARE VICTIMS OF CRIMES COMMITTED
UPON PERSON AND THERE PROPERTY BY LAW ENFORCEMENT
AGENCIES AND JUDGES WHO ALL WHITE IN POWER TO MAKE SOME
DECISIONS THAT IS A CAUSE OF INFRINGMENT UPON THE PLAINTIFF
CONSTITUTINAL RIGHTS TO BE FREE FROM ULAWFUL SEARCHES AND
SIZURES, ALSO TO BE FREE CROM CRULE AND UNUSUAL PUNISHMENT.
THE SAID PLAINTIFFS HAVE BEEN REPEATALLY DENIED PROPER ACCESS
TO THE COURTS ALSO HAS BEEN REFUSED TO BE ALLOWED TO FILE
CITIZENS COMPLAINTS AGAINST THE POLICE, JUDGES. PROSECUTORS,
AND ALL OTHER SAID DEFENDANTS IN THIS CASE IS A DIRECT
VIOLATION OF THE EQUAL PROTECTION OF THE LAWS THIS STATE AND
COUNTRY. IT CLEARLY APPERAS THAT THE PLAINTIFFFS CLAIMS ARE TO
BE DISMISSED ALL IN DUE IN PART TO PROTECT THE INTEGRITY OF THE
JUDICIAL SYSTEM AND THE WRONGS OF LAW ENFOCEMENT AGENCIES
WHO ABUSES THEIR POWER AND AUTHORITY. ALSO THE EXPOSING
THIS CORRUPTUS OF THE SAID DEFENDANTS WHO ALL BEEN WORKING
IN DISGUISE AS PUBLIC SERVENT OFFICIALS HAVE COMMITTED CRIMES
UPON THE PLAINTIFFS UNDER COLOR OF LAW WITH WHITE HUDDIES IN
ACTIONS OF THE 1871 KU KLUX KLAN ACT. THE PLAINTIFFS HAVE MADE
EVERY ATTEMPT TO PERVENT FURTHER INJURIES UPON PERSON AND
PROPERTY DEFENDANTS THE MICHIGAN STATE POLICE AND THE
WASHTENAW COUNTY SHERIFF DEPARMENT REFUSE TO INVESTIGATE
OUR CLAIMS NOR ALLOW THE PLAINTIFF TO FILE CHARGES UPON THE
SAID DEFENDANTS. THE DEFENDANTS MICHIGAN STATE POLICE HAS
BEEN PROVIDED OVER HELMING EVIDENCE FROM THE FILING OF
CITIZEN COMPLAINTS BY THE PLAINTIFF CHRISTOPHER ROBINSON. THE
PLAINTIFFS CONTENDS THAT IT WOULD MAKE LOGICAL SENSE THAT

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THE DEFENDANTS WHO ARE LAW ENFORCEMENT WHO ARE
OPPERSSING THE SAID PLAINTIFFS WILL NOT INVESTIGATE THEIR OWN
CRIMES THERE COMMITTING UPON THE SAID PLAINTIFFS.

STATUE OF LIMITATIONS

THE PLAINTIFF CHRISTOPHER ROBINSON SAID CLAIMS
AGAINST THE DEFENDANTS OF WASHTENAW COUNTY SHERIFF
DEPARMENT, PITTSFEILD TOWNSHIP POLICE DEPARTMENT,
WASHTENAW COUNTY PROSECUTORS OFFICE, AND PROSECUTORS AND
ALL OTHER DEFENDANTS OF SAID PUBLIC SERVANTS IN THIS CASE IS
NOT BARRED FROM THIS SUIT TAT THIS IS NOT AN ATTACK ON THE
PLAINTIFF CONVICTION AND SENTENCE BUT RATHER AN ATTACK ON
THE NEWLY DISCOVERED EVIDENCE OF THE PLAINTIFF HAS PERSONAL
KNOWLEADGE OF THE SAID DEFENDANTS FRAMED THE PLAINTIFF
WITH OUT DUEPROCESS OF LAW. THAT ACCORDING TO THE CASE FILE
OF CERTIFIED DOCUMENTS THAT WERE FILED WITH OUT PROPER DUE
PROCESS AND AUTHORIZATION OF CRIMINAL CHARGES OF SAID
CONVICTIONS OF THE PLAINTIFF CSC CASE AND ASSULTING THE
DEFENDANT POLICE OFFICER STEPHAN ANDREWS ALLEGALLY. RECORDS
IN THIS SUIT DEMOSTRATES AN COMPLETE CONSPIRACY COVER UP
THAT IN 20223 THE PLAITIFF CHRISTOPHER ROBINSON DISCOVERED
THAT PLAINTIFF WAS NERVER LEGALLY CHARGED WITH HIS CSC
OFFENSE ALSO THE ALLEGED OFFENSE OF ALLEGALLY ASSULTING

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POLICE OFFICER STEPHAN ANDREWS. THE PLANTIFF CONTENDS THAT
UNDER FERAL LAW, A CAUSE OF ACTION ACCURES WHEN PLAINTIFF
KNOWS OR HAS REASON TO KNOW OF THE INJURY THAT IS THE BASIS
FOR THE ACTION. FRIEDMAN V. ESTATE OF PRESSER 929 F. 2D1151
(6THCIR 1991 THE PLAINTIFF IS CHARGED WITH THE DUTY OF
RESONABLE DILIGENCE IN DISCOVERING HIS INJURY. SEE SEVIER V.
TURNER 742 F2. 262. 273.( 6" CIR 1984) IN THIS CASE THE LATEST
ACCURAL DATE BY WHICH PLAINTIFF CLEARLY KNEW OR HAD REASON
TO KNOW OF THE INJURY. IN DETERMINING A STATUTE OF LIMITAIONS
FOR 1983 ACTIONS, COURTS ARE APPLY THE STATES STATUTUE OF
LIMITAIONS FOE 1983 ACTIONS, COURTS ARE TO APPLY THE STATES
STATUTE OF LIMITATIONS FOR PERSONAL INJURY. IN MICHIGAN ITS
THREE YEARS WILSON V, GARCIA 471 U.S. (1985) ITS WELL ESTABLISHED
IN MICHIGAN THREE YEAR STATUTE OF LIMITATION APPLIES TO 1983
CLAIMS. CARROLL V.WILKERSON, 782 F,2D 44 (6THCIR.1986).
ALTHOUGH THE STATE LAW DETERMINES THE TIME PLAINTIFFS HAS TO
FILE, THE ACCURAL DATE THAT IS THE TIME BEGINS TO RUN ISA
QUESTION OF FEDRAL LAW. KUZAWA V. MUELLER 547 F.SUPP 1254 (ED
MICH1982) THE PLAINTIFF CHRISTOPHER ROBINSON CONTENDS HE
CAN PREVAIL ON HIS SAID CLAIMS PLAINTIFF ALLGES A VILOATION OF
SPECIFIED CONSTITUIONAL VIOLATIONS UNDER 42 U.S.C. 1983. IN ANY
SECTION 1983 ACTION, THE INITIAL MUST FOCUS ON WHEATHER TWO
ESSENTIAL ELEMENTS ARE PRESENT WHEATHER THE CONDUCT
COMPLAINED OF WAS COMMITTED BY A PERSON ACTING UNDER
COLOR OF STATE LAW; AND WHEATHER THIS CONDUCT DEPRIVED THE
PLAINTIFF OF HIS RIGHTS, IMMUNITIES SECURED BY THE
CONSTITUTION OF LAWS OF THE UNITED STATES. 42 U.S.C. 1983 PRATT
V. TAYLOR 451 U.S.527,101 S.CT 1908 (1981) IN CONCLUSION THE

Ad
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PLAINTIFF UNCONSTITUTIONAL CONVICTIONS AND SENTENCES WERE
WITH OUT EQUAL DUE PROCESS OF LAW THAT THE PLAINTIFF
UNCONSTITUTIONAL CONVICTION OF ALLEGALLY ASSULTING
DEFENDANT STEPHEN ANDREWS WERE VACATED BY THE MICHIGAN
COURT OF APPEALS AD THE PLAINTIFF WAS UNLAWFULLY
RECONVICTED AND RESENTENCE WAS UNLAWFUL AND WITH OUT
JURISDICTION OF THE TRIAL COURT. THE PLAINTIFF CONVICTION AND
SENTENCE WAS VACATED ON JANUARY 28. 2016. THE PLAINFF
REMAINED INCARCERATED UNTILL PAROLED IN 2018 AND COMPLETING
THE VOID CONVICTION AND SENTENCE UPON DISCHARGING OFF
PAROLE OF THE CHARGE OF ASSULTING THE ALLEGED DEFENDANT
STEPHEN ANDREWS IN FEBUARY OF 2022.

JUDICIAL IMMUNITY

GIBSON V. GOLDSTON RALEIGH COUNTY, WEST VIRGINA 474 CIRCUIT
NOVEMBER 14, 2022 IMMUNITY AND ACCOUNTABILITY PRIVATE
PROPERTY. THE SAID DEFENDANTS JUDGE DARLENE O’ BREIN, ERANE
WASHINGTON, CAROL KUNKE, ALLAN TRUSEDELL. JOESPH BURKE, WHO
ALL ACTED IN CLEAR ABSENCE OF ALL JURIDDICTION WHILE
PERFORMING JUDICIAL ACTS UNDER COLOR OF LAW THE DEFENDANTS
JUDGES DARLRNE O’ BREIN, ERANE WASHINGTON, WERE ACTING
UNDER OF COLOR OF LAW AT ALL TIMES PERFORMING JUDICAL ACTS
MAKING ERRONEOUS DECISIONS INJURING THE PLAINTIFFS CHRISTINE
THOMPSON AND CHRISTOPHER ROBINSON. THE SAID DEFENDANTS
CONSPIRED WITH THE SAID DEFENDANTS ATTORNEYS ZANITA CLIPPER.
SARA GORMAN RAJAN, KEVEIN THOMPSON, TO TAKE POSSESSION OF
MY HOME UNLAWFULLY THROUGH AN UNLAWFUL LANDLORD

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TEANANT EVIVTION PROCESS DEFENDANT DARLENE O’ BREIN, ERANE
WASHINGTON, WAS WELL AWARE THE DEFENDANT ATTORNEY ZANITA
CLIPPER AND HER CLIENT KEVIN THOMPSON UNLAWFUL ACTIONS
AGAINST THE PLAINTIFFS AND TOOK NO CORRECTIVE ACTION IN THIS
MATTER ALLOWING THE DEFENDANTS OF PITTSFEILD TOWNSHIP
POLICE DEPARTMENT TO SEIZE THE PLAINTIFF HOME FORCIBLY WITH
THREATENING AND INTIMADATING ACTIONS TRYING TO MAKE THE
PLAINTIFFS VACATE THEIR HOME THEY OWN WITH TITLE. THE ACTIONS
BY THE SAID DEFENDANTS WERE UNLAWFUL, AN PUBLIC
EMBRASSMENT TO MY NEIGHBORHOOD MAKING VERBAL THREATS TO
ARREST THE PLAINTIFFS ON THEIR OWN PROPERTY WITH OUT PROABLE
CAUSE NOR AN SEARCH WARRANT. COMMON LAW SINCE THAT
DEFENDANTS JUDGES DARLENE O’BREIN, ERANE WASHINGTON
KNOWING KNEW THAT NO CITIZEN IN THE UNITED STATES CAN BE
EVICTED FROM THE PROPERTY THEY OWN WITH TITLE. IN THE
PLAINTIFFS CASE OF 8™ AMENDMENT VIOLATIONS BY THE
DEFENDANTS WASHTENAW COUNTY PROSECUTORS OFFICE,
PROSECUTORS, AND JUDGES, WHO PROSECUTED AND CONVICTED THE
PLAINTIFF IN CLEAR ABSENCE OF ALL JURISDICTION LIKE STATED IN THIS
SUIT IS SUBJECT TO + DAMAGES IN THIS FOR SEE STUMP V. SPARKMAN.

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CONSTITUTIONAL CLAIMS

1. DEFENADNTS JUDGES DARLENE O’ BREIN, ERANE
WASHINGTON,KEVIN THOMPSON,ATTORNEYS ZANITA CLIPPER,
SARA GORMAN RAJON, DID WILLFULLY VIOLATE THE PLAINTIFFS
CONSTITUTIONAL RIGHTS BY HAVING A MEETING IN MINDS TO
CONSPIRE TO INJURE THE PLAINTIFFS WHILE ACTING UNDER
COLOR OF LAW ALSO IN THEIR PERSONAL AND OFFICAL
CAPACITY TO UNLAWFULLY TAKE POSSESSION OF OUR HOME
WITH OUT LEGAL AUTHORITY IN DOING SO.

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2. THE DEFENDANTS JUDGES DARLENE O’ BREIN, ERANE
WASHINGTON, ATTORNEY ZANITA CLIPPER, SARA GORMAN
RAJON, KEVIN THOMSPON, DID WILLFULLY VIOLATE THE
PLAINTIFFS CONSTITUTIONAL RIGHTS TO THE 4" g™ 14TH
AMENDMENT TO BE SAFE AND SECURE IN OUR HOME AND DUE
PROCESS OF LAW TO BE FREE FROM CRUEL AND UNSUAL
PUNISHMENT.

3. THE DEFENDANT ATTORNEY ZANITACLIPPER, KEVIN THOMPSON,
DID WILLFULLY HAVE A MEETING IN MINDS TO CONSPIRE TO
UNLAWFULLY TAKE POSSESSION OF MY HOME BY USING
THREATENING AND INTIMIMADTING TACTICS WITH THE HELP
OF THE SAID DEFENDANTS WASHTENAW COUNTY POLICE
DEPARTMENT, PITTSFEILD TOWNSHIP DEPARTMENT VIOLATING
THE PLAINTIFFS 4" 874 14T AMENDMENT OF THE UNITED
STATES CONSTITUTION.

4. DEFENDANTS ATTORNEYS ZANITA CLIPPER, SARA GORMAN.
RAJON. KEVIN THOMPSON, DID WILLFULLY, BAND, CONSPIRE,
TO EXTORT THE PLAINTIFF CHRISTINE THOMPSON FOR THE
PROCEEDS OF HER HOME AND ATTORNEY FEES BY THE
FALSICATION OF ENTER OFFICE DOCUMENTS, MAKING FALSE
STATEMENTS,

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5. DEFENDANTS POLICE OFFICERS STEPHEN ANDREWS, JIM
MAUDLIN SGT HENRY FUSIK, LT. SEAN McCORMICK SHAWN
BOOTH, MATTHEW HARSHBERGER, PITTSFEID TOWNSHIP
POLICE DEPARTMENT,WASHTENAW COUNTY SHERIFF
DEPARTMENT, SHERIFF JERRY CLAYTON, PROSECUTORS ERIC
GUTENBURG, NIMISH GANTRA, CHRIS CHILDRESS,JUDGES
JOESPH BURKE, ALLAN TRUESDELL, JUDGE CAROL KUHKNE, DID
WILLFULLY BAND, CONSPIRE TO INJURE THE PLAINTIFF
CHRISTOPHER ROBINSON IN AN CRIMINAL PROCEEDING WITH
OUT DUE PROCESS OF LAW THAT COST THE PLAINTIFF PHYSICAL
AND MENTAL PAIN FROM BEING INCARCERATED FOR MANY
YEARS WITHOUT CHARGES EVER BEING FILE NOR AN WARRANT
TO SEIZE THE PLAINTIFF THROUGH HIS PRE TRIAL AND TRIAL
PROCEEDINGS IN VIOLATION OF THE PLAINTIFF RIGHT OF THE
8TH AMENDMENT TO BE FREE FROM CRUEL AND UNUSAL
PUNISHMENT MICHIGAN STATE POLICE. BRIGHTON AND OAK
PARK MI, REFUSED TO ALLOW THE PLAINTIFFS TO FILE A CITIZEN
COMPLAINT CCONCERNING THERE REAL PROTERTY AND SAFTEY.
ALSO DEFENDANT STATE TROOPER OF BRIGHTON KACHELSKI
POLICE REPORT INCIDENT NO. 124427-22FAILED TO
INVESTIGATE PLAINTIFF BEING ASSULTED BY DEFENDANT
POLICE OFICER STPHEN ANDREWS OF PITTSFEILD TOWNSHIP
POLICE DEPARTMENT’

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6. DEFENDANTS WASHTENAW COUNTY PROSECUTORS OFFICE,
PROSECUTORS, JUDGES, PITTSFEILD TOWNSHIP POLICE
OFFICERS ALL STATED IN THIS SUIT DID WILLFULLY, BAND,
CONSPIRE TO RECONVICT AND SENTENCE THE PLINTIFF TO
SILENCE HIM FROM , BAND, CONSPIRE TO RECONVICT AND
SENTENCE THE PLINTIFF TO SILENCE HIM FROM EXERCISING HIS
FIRST AMENDMENT RIGHT TO SPEAK OUT THAT DEFEDNANT
STEPHEN ANDRES ASSULTED THE PLAINTIFF AND INJURING HIM
INVIOLATION OF THE PLAINTIFF RIGHTS TO THE 8'4 147
AMENDMENT IN ABSENCE OF ALL JURIDICTION WHILE ACTING
UNDER OF LAW AT ALL TIMES.

7.ALL SAID DEFENDANTS IN THIS CASE DID, WILLFULLY, BAND,
CONPIRE, TO VIOLATE THE PLAINTIFFS CHRISTOPHER
ROBINSON, CHRISTINE THOMPSON, CONSTITUTIONAL RIGHTS
OF THE 157 4TH gTH 14TH AMEND MENT OUT OF MALICE TO DO
EVIL AND HARM TO THE PLAINTIFFS OUT OF RETALIATION IN
VIOLATION OF THE UNITED STATES CONSTITUTION ALSO
INVADING THE PLAINTIFF PRIVACY BY INSTALLING HIDDEN
CAMERAS IN OUR HOME AND WIRE TAPPING TRACKING OUR
EVERY LOCATION IN ATTEMPTS TO GATE KEEP PLAINTIFFS FROM
SPEAKING OUT TO THE COURTS AND PUBLIC EXSPOSING STATE
AND LOCAL LAW OFFICALS WHO FEAR OF THE INTEGRITY OF
THE POLICE FORCE AND JUDICAL SYSTEM OF WASHTENAW
COUNTY WILL BE EXSPOSED OF CORRUPTNESS THAT HAS BEEN
GOING ON FOR SO LONG.

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DAMAGES

1. THE PLAINTIFFS SUES ALL SAID DEFENDANTS IN THEIR
PERSONAL AND OFFICAL CAPACTIES IN MONETARY, PUNITVE,
COMPENSATORY, DAMAGES FOR THEIR WILLFUL
CONSTITUTIONAL VIOLATIONS OF THE PLAINTIFFS AND WHAT
EVER ELSE THIS COURT FITS TO BE JUST DEEMED AND
PROPER.

PRAYER FOR RELIEF

THE SAID PLAINTIFFS PRAY THAT THIS COURT ISSUE
AN PRELIMINARY AND PERMANENT RESTRAING ORDER AND INJUCTION
THAT THE PLAINTIFFF SAFTEY AND LIVES WONT BE AT DANGER IN THE
HANDS OF ALL OF THE SAID DEFENDANTS. THAT THIS COURT IN REM
HAND DOWN A ORDER FOR THE PLAINTIFF CHRISTINE THOMPSON
WHO IS THE SOLE OWNER OF HER HOME TO BE ALE TO SELL HER HOME
WITH OUT INTERFERENCE FROM THE SAID DEFENDANTS AND ORDER
THE SAID DEFENDANTS TO STOP THREATENING THE 70 YEAR OLD
PLAINTIFF AND SON PLAINTIFF CHRISTOPHER ROBINSON TO BE
ARRESTED FROM THEIR HOME WHO PLAINTIFF CHRISTINE THOMPSON
HOLDS TITLE TO INVADING OUR PROPERTY WITH THREATS OF FORCE
WITH OUT A SEARCH WARRANT OR WARRANT IN ATTEMPTS TO FORCE

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LIST OF DEFENDANTS

1, JUDGE DARLENE O; BREIN, CAROL KUHNKE,101 EAST HURON
STREET ANN ARBOR MICHIGAN 48104.

2, ERANE WASHINGTON, 7200 SOUTH HORON RIVER DRIVE
YPSILANTI MICHIGAN 48197.

3, SARA GORMAN RAJON,37887 WEST TWELVE MILE ROAD
FARMINGTON HILLS, MICHIGAN 48331

4, ZANITA CLIPPER, P.O. BOX 354 LINCOLN PARK, MICHIGAN 48146

5, KEVIN V. THOMPSON P.O. BOX 354 LINCOLN PARK,
MICHIGAN481 46

6. STEPHEN ANDREWS, JIM MAUDLIN, HENRY FUSIK, SEAN
McCORMICK, MATTHEW HARSHBERGER, 6227 W, MICHIGAN
AVE ANN ARBOR MICHIGAN 48108

7. WASHTENAW COUNTY SHERIFF JERRY CLAYTON, WASHTENAW
COUNTY SHERIFF DEPARTMENT, 2201 HOGBACK ROAD ANN
ARBOR MICHIGAN 48105
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8,WASHTTENAW COUNTY SHERIFF DEPARTMENT STATION TWO
2201 HOG BACK ROAD ANN ARBOR MICHIGAN 48105

9, WASHTENAW COUNTY PROSECUTORS OFFICEAND
PROSECUTORS 200 NORTH MAIN STREET ANN ARBOR
MICHIGAN48104

10,MICHIGAN STATE POLICE BRIGHTON AND TROOPER
KACHELSKI4337 BUNOROAD, BRIGHTON MICHIGAN 48114

11,QAK PARK STATE POLICE 14350 WEST 10 MILE RD, OAK PARK,
MICHIGAN,

12, JOESPH F. BURKE, ALLAN THOMAS TRUESDELL 4133
WASHTENAW AVE, ANN ARBOR MICHIGAN
